Case 2:16-cv-04750-JLL-JAD          Document 12-5        Filed 04/28/17      Page 1 of 2 PageID: 97




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    UNITED STATES DISTRICT COURT
    FOR THE DISTRICT OF NEW JERSEY


    DEBORAH MIGDAL,
    on behalf of herself and those similarly
    situated,
                                                            Civil Action No. 2:16-cv-04750
                       Plaintiff,

           -v-                                               ORDER ON MOTION TO COMPEL
                                                              ARBITRATION AND DISMISS
    PORTFOLIO RECOVERY ASSOCIATES,                             PLAINTIFF’S COMPLAINT
    LLC

                       Defendant.



           THIS MATTER having been opened to the Court by defendant, PORTFOLIO

    RECOVERY ASSOCIATES, LLC for an ORDER compelling Plaintiff Deborah Migdal,

    to submit her claims to arbitration and to dismiss or in the alternative to stay this action on

    the grounds that the parties’ agreement contains a binding arbitration clause, pursuant to

    Sections 3 and 4 of the Federal Arbitration Act, 9 U.S.C. § 1, et seq. and Rules 12(b)(6) of

    the Federal Rules of Civil Procedure, and the Court having reviewed the moving papers

    submitted, and any opposition thereto, and the Court having heard oral arguments of

    counsel; and for good cause shown;
Case 2:16-cv-04750-JLL-JAD         Document 12-5        Filed 04/28/17     Page 2 of 2 PageID: 98




           IT IS on this ____ day of __________, 2017 ORDERED as follows:

           1.      PORTFOLIO RECOVERY ASSOCIATES, LLC motion to compel

    arbitration and dismiss this action is hereby granted.

           IT IS FURTHER ORDERED that a copy of this order shall be served on all

    parties within 7 days



                                                             __________________________
